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                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                      PORTLAND DIVISION

DALLAS BUYERS CLUB, LLC,                                            Case No.: 3:15-cv-0907-AC

                Plaintiff,                             MOTION FOR CARL D. CROWELL
                                                       TO WITHDRAW AS COUNSEL FOR
v.                                                     PLAINTIFF

JOHN HUSZAR,
                                                       UNOPPOSED
                Defendant

                                         LR 7.1 CONFERRAL

         Plaintiff’s counsel certifies he has conferred with counsel for the defendant and this

     motion is unopposed.


               MOTION FOR CARL D. CROWELL TO WITHDRAW AS COUNSEL


         Pursuant to LR 83-11(a), Carl D. Crowell, one of counsel of record for Plaintiff Dallas

Buyers Club, LLC, moves this Court for an order allowing him to withdraw as counsel for

Plaintiff.

         New counsel has been retained by Plaintiff to represent Plaintiff in this matter and though




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a substitution under LR 83-11(d) might have been proper, logistics have resulted in separate

Notices of Appearance (Ecf. 129) and now a Motion to Withdrawal.

         There is no prejudice to Plaintiff as the intent had been for there to have been a

substitution initially.

         WHEREFORE, counsel requests he now be allowed to withdrawal pursuant to LR 83-

11(a).

         DATED: January 26, 2017.

                                                       Respectfully submitted,
                                                       CROWELL LAW
                                                       /s/ Carl D. Crowell
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